Kenneth M. Gutsch, ABA 8811186
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Attorneys for Defendant


                     IN THE UNITED STATES DISTRICT COURT

                FOR THE DISTRICT OF ALASKA AT ANCHORAGE

EVELYN SANBORN,                            )
                                           )
              Plaintiff,                   )
                                           )
       v.                                  )
                                           )
WAL-MART STORES, INC.,                     )
                                           )
              Defendant.                   )     Case No. 3:12-cv-________
                                           )
                                           )

                                  NOTICE OF REMOVAL

TO:           The United States District Court
              For the District of Alaska

AND TO:       Jeffrey J. Barber

       You are hereby notified that, pursuant to 28 U.S.C. §§ 1331, 1332(a)(1), 1441 and

1446, the above defendant, Wal-Mart Stores, Inc., has this day filed in the United States

District Court for the District of Alaska this Notice of Removal of the following action:

Evelyn Sanborn v. Wal-Mart Stores, Inc., filed in the Superior Court for the State of Alaska,

Third Judicial District at Anchorage, Case No. 3AN-12-07250 CI. You are also notified that




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the said defendant has filed a copy of this Notice with the Clerk of the Superior Court for

the Third Judicial District at Anchorage, and that said action has thereby been removed from

the Superior Court to the United States District Court. See, Exhibit A (“Notice of Removal

to United States District Court” w/o attachments).

       The grounds for removal are as follows: Diversity of citizenship. 28 U.S.C. §§ 1331,

1332(a)(1), 1441 and 1446. Plaintiff is a resident and citizen of the State of Alaska (Ex. B,

Complaint at ¶ 1). Defendant is a Delaware corporation whose principal place of business is

in Arkansas. Defendant is therefore a citizen of Delaware and Arkansas, and there is

complete diversity of citizenship amongst the parties. This removal is being filed within

twenty (30) days after service of process.

       Suit was filed by plaintiff in Alaska Superior Court, Third Judicial District at

Anchorage, on or about May 15, 2012. Plaintiff’s counsel claims damages in excess of

$100,000. Summons was served on defendant on May 17, 2012.

       Based on the above, this court has removal jurisdiction over this action, and

defendant is entitled to remove this action to this Court from the Superior Court for the State

of Alaska.

       DATED this 1st day of June, 2012, Anchorage, Alaska.

                                    RICHMOND & QUINN
                                    Attorneys for Defendant

                             By:    /s/ Kenneth M. Gutsch_
                                    Kenneth M. Gutsch
                                    RICHMOND & QUINN
                                    360 “K” Street, Suite 200

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                                        E-mail: kgutsch@richmondquinn.com
                                        Alaska Bar No. 8811186




       CERTIFICATE OF SERVICE
I HEREBY CERTIFY that on 1st day of June,
2012, a copy of the foregoing was served by
electronically on the following:

Jeffrey J. Barber
jeffb@alaskainjury.com

___/s/ Kenneth M. Gutsch________
       RICHMOND & QUINN
2245\041\PLD\Removal from State Court




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